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523.8 KB, Yesterday at 10:04 AM by rquinn@ch.ci.buffalo.ny.us
521.7 KB, Yesterday at 10:05 AM by rquinn@ch.ci. buffalo. ny.us
526.4 KB, Yesterday at 10:05 AM by rquinn@ch.ci.buffalo.ny.us
522.6 KB, Yesterday at 10:05 AM by rquinn@ch.ci.buffalo.ny.us
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1.3 MB, Yesterday at 6:34 PM by rquinn@ch.ci.buffalo.ny.us
721.0 KB, Yesterday at 6:34 PM by rquinn@ch.ci.buffalo.ny.us
751.3 KB, Yesterday at 6:35 PM by rquinn@ch.ci.buffalo.ny.us
745.6 KB, Yesterday at 6:35 PM by rquinn@ch.ci.buffalo.ny.us
596.0 KB, Yesterday at 6:35 PM by rquinn@ch.ci.buffalo.ny.us
996.8 KB, Yesterday at 6:35 PM by rquinn@ch.ci.buffalo.ny.us
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533.2 KB, Yesterday at 6:35 PM by rquinn@ch.ci.buffalo.ny.us
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